                    Case 8:17-cr-00685-TDC Document 27 Filed 12/29/17 Page 1 of 3


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                                      IN THE UNITED STATES DISTRICT COURT.,              II   ~I:.L L     fl,J   10: 4!J
                                         FOR THE DISTRICT OF MARYLAND
                                                                                              '"                 _T
       UNITED STATES OF AMERICA                            *
                                                           *
                                                                                  _.               1'1;     .~ ..     _/n
                  v.                                       *     CRIMINAL     N0'lDt                  tier Lo~
                                                           *
       ANTONIN DEHA YS,                                    *     (Theft of Government Property,
                                                           *     18 U.S.c. ~ 641; Forfeiture, 18 U.S.c.
                               Defendant                   *     ~ 98 I(a)(I)(C), 28 U.S.c. ~ 2461(c»
                                                           *
                                                       *******
                                                   INFORMA nON

                                                      COUNT ONE
                                            (Theft of Government Property)

                The Acting United States Attorney for the District of Maryland charges that:

                Between no later than in or about December 2012 and continuing through in or about

      June 2017, in the District of Maryland and elsewhere, the defendant,

                                                ANTONIN DEHA YS,

      did steal and knowingly convert to his use and the use of another, and without authority, convey

      and dispose of any records and things of value of the United States and an agency thereof, whose

      aggregate value exceeded $1,000, namely, United States servicemen dog tags and other items

      belonging to the National Archives and Records Administration, an agency of the United States

      Government.



      18 U.S.C.      S 641
             Case 8:17-cr-00685-TDC Document 27 Filed 12/29/17 Page 2 of 3



                                   FORFEITURE ALLEGATION

        The Acting United States Attorney for the District of Maryland further finds that:

        l.       Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with Title 18, United

States Code, Section 981 (a)(1 )(C), and Title 28, United States Code, Section 2461 (c), in the

event of the defendant's conviction under Count One of this Information.

                                            Theft Forfeiture

        2.       As a result of thc offense alleged in Count One of this Information, and

incorporated here, the defendant,

                                         ANTONIN DEHA YS,

shall forfeit to the United States any property, real or personal, which constitutes or is derived

from proceeds traceable to the offense, including but not limited to the property of the United

States identified in Count One and involved in that offense, and a money judgment in the amount

of at least $43,456.96.

        3.       If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

                a.        cannot be located upon the exercise of due diligence;

                b.        has been transferred or sold to, or deposited with, a third person;

                c.        has been placed beyond the jurisdiction of the Court;

                d.        has been substantially diminished in value; or,

                e.        has been commingled with other property which cannot be divided

without difficulty,



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            Case 8:17-cr-00685-TDC Document 27 Filed 12/29/17 Page 3 of 3



it is the intent of the United States, pursuant to 21 U.S.c.   S 853(p),   as incorporated by 28 U.S.C.

S 2461 (c), to seek   forfeiture of any other property of said defendant up to the value ofthe

forfeitable property.



18 U.S.C.    S 98 I(a)(I)(C)
28 U.S.c.    S 2461 (c)

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Da{;     7                                      Steph n M. Schenning
                                                 Acting United States Attorney




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